Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 1 of 10


                                                     EXHIBIT G
Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 2 of 10
Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 3 of 10
Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 4 of 10
Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 5 of 10
Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 6 of 10
Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 7 of 10
Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 8 of 10
Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 9 of 10
Case 2:18-cv-02505-NIQA Document 239-7 Filed 10/21/21 Page 10 of 10
